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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

WILLIE MCINTOSH, JR.                                                                 PLAINTIFF

v.                            Case No. 4:19-cv-00391 KGB

UNION PACIFIC RAILROAD COMPANY                                                      DEFENDANT

                                             ORDER

       Before the Court is the parties’ joint stipulation of dismissal with prejudice (Dkt. No. 49).

The stipulation accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii). For

good cause shown, the Court adopts the joint stipulation of dismissal with prejudice, with each

party to bear his or its own attorney fees and court costs (Id.). The Court denies as moot defendant

Union Pacific Railroad Company’s motion for summary judgment (Dkt. No. 37).

       It is so ordered this 2nd day of December, 2021.

                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
